                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELA\ilARE

 In re:                                                            Chapter 11

 PROMISE HEALTHCARE GROUP, LLC,                                    Case   No. I8-I24gl (CSS)
 et   ø1.,
                                                                   (Jointly Administered)
                          Debtors.l
                                                                   Hearing Date: December 4,2018 at l1:00 a.m. ET
                                                                   Objection Deadline: November 27,2018 at 4:00 p.m.
                                                                   ET

                                                                   Ref. Nos.37,158

  SUPPLEMENTAL OBJECTION OF STRATEGIC GLOBAL MANAGEMENT, INC.
      TO DEBTORS' MOTTON FOR ENTRY OF ORDERS (rXA) ESTABLTSHTNG
     BIDDING PROCEDURES RELATING TO THE SALE OF CERTAIN OF THE
 DEBTORS' ASSETS,INCLUDING APPROVING A BREAK.UP FEE AND EXPENSE
    REIMBURSEMENT, (B) ESTABLISHING PROCEDURES RELATING TO THE
 ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
 UNEXPIRED LEASES, TNCLUDTNG NOTICE OF'PROPOSED CURE AMOUNTS, (C)
  APPROVING FORM AND MANNER OF NOTICE RELATING THERETO, AND (D)
     SCHEDULING A HEARING TO CONSIDER THE PROPOSED SALE; (IIXA)
   APPROVING THE SALE OF CERTAIN OF THE DEBTORS' ASSETS FREE AND
     CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, (B)
       AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
 EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND (C) AUTHORIZING
     SUCCESS HEALTHCARE I,LLC TO GRANT LIENS; AND (III) GRANTING
                            RELATED RELIEF'



I The Debtors in these Chapter I I cases, together with the last four digits of each Debtor's federal tax identifrcation number, are
as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital, L.L.C. (5340), Promise
Healthcare #2, lnc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthca¡e Holdings, Inc. (2ó01), Bossier Land
Acquisition Corp. $6a\, HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages
Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properlies of Vidalia, LLC (4255), HLP ProperÌies,
Inc. (0068), Promise Healthcare of California,. lnc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc.
(9219), Promise Hospital of Baton Rouge, Inc. (883 1), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, LP. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise
Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562),
Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc.
(2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc.
(9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise
Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius
Hospital Corporation #l (2766), St. Alexius Properties, LLC (4610), Success Healthcare l, LLC (6535), Success Healthcare 2,
LLC (8861), Success Healthcare, LLC (1604), Vidatia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveporl, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center
at the Villages,lnc. (7529), and PHG Technology Development and Services Company, Inc. (7766). The mailing address for the
Debtors, solely for purposes of notices and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 3343 l.




34724973v2
           Strategic Global Management, Inc. ("Strategic") hereby supplements its Objection [D.I.

1581 (the      "Objection") to the ooDebtors'Motionfor Entry of Orders Ø(A) Establishing Bidding

Procedures Relating to the Sale of Certain of the Debtors' Assets, Including Approving a Break-

Up Fee and Expense Reimbursement, (B) Establishing Procedures Relating to the Assumption

and Assignment of Certain Executory Contracts and Unexpired Leases, Including Notice of

Proposed Cure Amounts, (C) Approving Form and Manner of Notice Relating Thereto, and (D)

Scheduling a Hearing to Consider the Proposed Sale;                   (IDø) Approving the Sale of Certain of

the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B)

Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired

Leases, and (C) Authorizing Success Healthcare                  l,   LLC To Grant Liens; and (III) Granting

Related Relief" lD.L 37] (the "Sale Motion"),z andrespectfully represents as follows:


                                                INTRODUCTION
           L         The reason for this Supplemental Objection is that subsequent to the filing of its

Objection on November 27,2018, Strategic learned that the Debtors are continuing to comply
             oono
with the            shop" provision of the Stalking Horse         APA.     Strategic had previously understood

that the no shop provision had been waived by the Stalking Horse Bidder and was no longer in

effect.

           2.        As discussed below, no shop provisions chill bidding, violate the policy of the

Bankruptcy Code to maximize recoveries for creditors, and are a violation of a debtor's fiduciary

duty. Here, compliance with the no shop provision of the Stalking Horse APA is preventing
Strategic from obtaining critical information necessary to formulate its bid and obtain financing.

The no shop provision should be terminated immediately, and the proposed Bid Deadline should

be extended to at least January        4,2019.


2
    Capitalized terms not defrned herein have the meanings set forth in the Sale Motion.



                                                            2
34724973v2
                                     SUPPLEMENTAL OBJECTION
    I      The No Shop Provision of the Stalkine Horse APA.
             3.     Section 7.1(b) of the Stalking Horse APA prohibits the Debtors from, among

other things, soliciting, inducing or knowingly encouraging an Acquisition Proposal from the

date of the Stalking Horse        APA (October 24,2018) until the earlier of (i) twenty-five (25) days
after the Petition Date Qllovember 30, 2018),3 or (ii) entry of the Bidding Procedures Order:

                           (b) From the Agreement Date until the earlier of (i)
                    twenty-five (25) days from the Petition Date, or (ii) the entry of the
                    Bidding Procedures Order by the Bankruptcy Court, Sellers will
                    not, and will cause their respective Affiliates and Representatives
                    to not, directly or indirectly, (i) solicit, initiate or induce the
                    making submission or announcement of, or knowingly encourage,
                    an Acquisition Proposal; or (ii) enter into any contract relating to
                    an Acquisition Proposal.

Stalking Horse APA $ 7.1(b) at 38 [D.I. 37-5, p.              46]. The definition of Acquisition   Proposal

includes o'any inquiry" regarding an Alternative Transaction:

                    Acquisition Proposal - any inquiry, proposal or offer from any
                    Person (other than Buyer or any of its Afhliates) concerning an
                    Alternative Transaction, in each case, other than pursuant to the
                    Bidding Procedures following entry of the Bidding Procedures
                    Order.

Stalking Horse APA, Appendix 1.1 (Definitions) at 1 [D.L 37-5, p.                78).   Thus, the Debtors

agreed to a prohibition on responding to any inquiries from competing bidders during the period

from October 24,2018 (I2 days prior to the Petition Date) until the earlier of November 30 or

entry of the Bidding Procedures Order.




'   The Petition Date for the Silver Lake Debtors was November 5, 2018


                                                         a
                                                         J
34724973v2
             4.      To make matters worse, Section 7.1(c) of the Stalking Horse APA only gives the

Silver Lake Debtors affirmative permission to respond to inquiries from competing bidders
following entry of the Bidding Procedures Order:

                              (c)    Following entry of the Bidding Procedures Order,
                     Sellers, their Representatives and Affiliates may take the actions
                     prohibited by Section 7.1(b).

Stalking Horse APA $ 7,1(c) at 38 [D.I. 37-5,             p. 46]. Thus, under the terms of the Stalking
Horse APA, the Debtors are only authorized to respond to inquiries from competing bidders

following entry of the Bidding Procedures Order. The earliest possible date for entry of the
Bidding Procedures Order is the date of the hearing on the Bidding Procedures, which is

scheduled for December 4,2018.

         5.          If   the Debtors do not release full due diligence information until December 4,

Strategic     will   have only 17 days      in which to conduct due diligence, obtain financing    and

formulate a bid prior to the proposed deadline on Decemb er 2l.

II.      Because Of The No Shop Provision. The Debtors Have Not Provided
         Critical F inancial Information.
         6.          The Sale Motion was filed with the Court on November 6, 2018, and counsel for

Strategic requested due diligence information from counsel for the Silver Lake Debtors on

November 12, 2018. Citing the no shop provision of the Stalking Horse APA, counsel for the

Silver Lake Debtors initially refused Strategic's request. On November 19, 2018, however, they

informed Strategic that they had obtained a waiver of the no shop provision by the Stalking

Horse Bidder that would enable Strategic to have access to the Silver Lake data room. A copy         of
the e-mail correspondence between counsel for Strategic and counsel for the Silver Lake Debtors

on November 12 and 19,2018, is attached as Exhibit A to the attached Declaration of Mary H.

Rose   (the'o$g.Ðg,fuation").
         7.          On November 2I,2018 (the day before Thanksgiving), the Silver Lake Debtors

provided Strategic with access to the Silver Lake data room. They also provided Strategic with




                                                      4
34724973v2
copies of the Exhibits, Annexes and Schedules to the Stalking Horse APA, together with a

WORD version of the Stalking Horse APA.4

         8.      Strategic's review of the Silver Lake data room revealed, however, that the data

room did not contain current information. Except for amended preliminary title reports from

September 2018, the documents and information were all from2017 or earlier. There were no

year-end financial statements for 2017, and no financial statements for any portion of 2018.

There was no information regarding the basis for the Hospital Quality Assurance Fee (QAF)

Program or oomeaningful use" adjustments to the Purchase Price, which the Debtors estimate                will
reduce the Purchase Price from $84,150,000 to approximately 577.5              million (see Sale Motion fltf
18-19 [D.I. 37, pp.    7-8]). There was also no information regarding potential liabilities under
Medicare or Medi-Cal provider agreements, or expected Disproportionate Share Hospital (DSH)

Program payments, all of which can have a significant impact on the financial condition of a

hospital and on a prospective purchaser of a hospital.

         9.      On November 27 ,2018, counsel for Strategic sent an e-mail request to counsel for

the Silver Lake Debtors requesting a telephone call to discuss some of the most critical issues.

Counsel for the Silver Lake Debtors responded that the Stalking Horse Bidder had waived the no

shop provision solely with respect to access to the data room and that they were bamed from

responding    to other inquiries. A copy of the e-mail             correspondence between counsel for

Strategic and counsel for the Silver Lake Debtors on November 27 and28,2018, is attached as

Exhibit B to the Rose Declaration.

         10.     Strategic is a serious bidder, but it needs at least 30 days in which to conduct due

diligence and properly formulate its bid. If the Debtors do not provide basic financial and other

due diligence information until November 30, Strategic           will only have three     weeks in which to



o
 The Stalking Horse APA filed with the Court included almost none of the numerous Exhibits, Annexes and
Schedules listed in the Table of Exhibits, Annexes and Schedules (Stalking Horse APA at   vi-vii lDJ 37-5,pp,7-
8l). Among the most critical missing items were the Seller Note (Exhibit 4.2(dd), the post-closing Interim
Management Agreement (Exhibit 4.2(r), and the post-closing Interim Subleases (Exhibit 4.2(s)-l and 4,2(s)-2).



                                                       5
34724973v2
conduct due diligence, obtain financing and formulate a bid prior to the proposed Bid Deadline

on December        2L If the Debtors do not provide the necessary due diligence information until
December 4, the time period is compressed to a period of only 17 days prior to the proposed Bid

Deadline.

           11.      According to the Sale Motion, the Stalking Horse Bidder has had more than                  a

year in which to conduct due diligence and obtain financing.5 Strategic needs only 30 days, but

anything less than that is unreasonable. The Bid Deadline should be extended to at least January

4,2019.

III.      No ShoÞ Provisions Are Improper In Bankruptcv And Chill The Biddins.
           12.      No shop provisions are improper in bankruptcy where the goal is to maximize the

recovery for creditors. In Paci/ìcorp Ky. Energy Corp. v. Big Rivers EIec. Corp. (In re Big

Rivers EIec. Corp.),232 B.R. 739, 753 (D. Ky. 1998) ("Big Rivers"),the district court held that a

no shop provision that prevented the debtor from soliciting or entertaining competing offers
"violates the underlying policy of the Bankruptcy Code to maximize the value of the estate for

the creditors by stifling the bidding process for the assets of the debtor." The court fuither held
       ooa
that          contract containing such a clause which prevents a party from fulfilling his or her

fiduciary duty is void as a violation of public policy." Id.; see ølso Prime Healthcare Mgmt.                 v.


Valley Health Sys.       (n re Valley Health     Sys.),429 B.R. 692, 711-16 (Bankr. C.D. Cal. 2010)

(holding that a Chapter 9 debtor, unlike a Chapter 11 debtor, has no fiduciary obligations and

may enter into a no shop agreement that prevents competitive bidding).

          13.       Only one reported decision in this district has considered the propriety of no shop

provisions in bankruptcy. In Fox Sports Net West 2, LLC v. Los Angeles Dodgers LLC (n re Los

Angeles Dodgers LLC),465 B.R. 18,28-29 (D. Del.              20II), the district court concluded that a no



t The Sale Motion states that the final round of pre-petition bids was conducted in July 2017, and the Debtors
executed the Original Purchase Agreement with the Stalking Horse Bidder on February 7,2018. Sale Motion lftf 15-
16   at7 lD.l,37 at7l.


                                                       6
34'124973v2
shop provision      is   not   per s¿ unenforceable in bankruptcy and suggested that the Big Rivers
decision invalidating a no shop provision should be limited to the factual context of that case in
         ooa
which          contact containing a no shop provision was executed in anticipation of a bankruptcy

filing and was 'condition[ed] on approval of the bankruptcy court." As such, the Big Rivers
decision "merely reflects the Revlon-like principle that'no shop'provisions are invalid only     if   at

the time they were adopted they were in violation of a board's fiduciary duty." Id. (citing Big

Rivers,233 B.R. at75I-54 and Revlon, Inc. v. MacAndrews & Forbes Holdings, Inc., 506 A.2d

173,182 (Del. 1986)).

             14.   The situation in this case is precisely like the facts of Big Rivers. The Stalking

Horse APA was executed only twelve days prior to the Petition Date and is conditioned on

approval of this Court. The no shop provision contained therein clearly violates the policy of the

Bankruptcy Code to maximize the recovery for creditors and chills the bidding. At this point in

time, the only available remedy of this Court is to ensure that the no shop provision of the

Stalking Horse APA is terminated immediately and to extend the proposed time period for

submission of bids to at least January 4,2019.




                                                     7
34724973v2
                                           CONCLUSION
         15. In view of the foregoing,          Strategic respectfully requests that   in addition   to

granting the relief requested in the Objection, the Court (a) direct the Debtors to immediately

terminate the no shop provision of the Stalking Horse APA, (b) extend the Bid Deadline to at

least January 4, 2019 , and (c) grant such other and further relief as is j ust.

Dated: November 29,2018                                  IS RATH         OBB LLP
       Wilmington, Delaware

                                                        G. Landis   o.3407)
                                                 Kerri K. Mumford (No. 4186)
                                                 Matthew R. Pierce Q'{o. 5946)
                                                 919 Market Street, Suite 1800
                                                 V/ilmington, Delaware 1 980 1
                                                 Telephone: (302) 467 -4400
                                                 Facsimile: (302) 467 -4450
                                                 Email: landis@lrclaw.com
                                                        mumford@lrclaw.com
                                                        pierce@lrclaw.com

                                                 -and-

                                                 BUCHALTER, A Professional Corporation
                                                 Mary H. Rose Qtro hac vice pending)
                                                 Paul S. Arrow Qtro hac vice pending)
                                                 1000 Wilshire Boulevard, Suite 1500
                                                 Los Angeles, California 90017
                                                 Telephone: (2 1 3) 891 -0700
                                                 Facsimile: (2 1 3) 896-0400
                                                 Email : mrose@buchalter. com
                                                        panow@buchalter.com

                                                 Attorneys for Strategic Global Management, Inc




                                                     8
34724973v2
